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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  ABERDEEN DIVISION

ROBBIE KEETON GEIGER, as                                                                           PLAINTIFFS
Administratrix of the Estate of Ricky
Keith Keeton, Deceased, et al.

V.                                                                               NO. 1:16-CV-95-DMB-DAS

MONROE COUNTY, MISSISSIPPI,
et al.                                                                                          DEFENDANTS


                                                     ORDER

         On September 28, 2022, United States Magistrate Judge David A. Sanders held a status

conference with the parties. Doc. #288. The minutes from the conference reflect the case was

settled. Id. Accordingly, this case is administratively CLOSED.1

         SO ORDERED, this 29th day of September, 2022.

                                                               /s/Debra M. Brown
                                                               UNITED STATES DISTRICT JUDGE




1
 This case may be dismissed with prejudice either by the parties filing a stipulation in accordance with Federal Rule
of Civil Procedure 41 or a joint motion for dismissal.
